






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS








ELOISA CASTELLANOS,



                            Appellant,



V.



EDELMIRO J. MARTINEZ,



                            Appellee.
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No. 08-09-00125-CV




Appeal from the



County Court at Law No. 2



of Webb County, Texas 



(TC# 2008-CVD-000154-L2) 



MEMORANDUM  OPINION


	Pending before the Court on our own motion is the determination whether this appeal
should be dismissed for want of prosecution pursuant to Tex.R.App.P. 38.8.  Having determined
that Appellant has failed to file a brief and has not requested an extension of time to do so, we
will dismiss the appeal.

	This Court possesses the authority to dismiss an appeal for want of prosecution when the
appellant fails to file a brief within the time proscribed and provides no reasonable explanation
for such failure.  Tex.R.App.P. 38.8.(a)(1).  By letter dated June 23, 2009, the clerk of this Court
informed Appellant of the Court's intent to dismiss this appeal for want of prosecution due to
Appellant's failure to file a brief or request an extension of time to do so.  The Court advised 
Appellant that the appeal would be dismissed without further notice unless she responded within
ten days and provided a reason why the appeal should be continued.  See Tex.R.App.P. 38.8. 
Appellant has not responded to the clerk's notice.  We see no purpose that would be served by
maintaining this appeal at this stage in the proceedings.  Therefore, pursuant to Tex.R.App.P.
38.8(a)(1), we dismiss the appeal for want of prosecution.



September 23, 2009

						DAVID WELLINGTON CHEW, Chief Justice


Before Chew, C.J., McClure, and Rivera, JJ.


